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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                           )
JANET MARIE ROHLOFF                        )
                                           )   Civil Action No.
      Plaintiff,                           )
                                           )
v.                                         )
                                           )
TRANS UNION, LLC                           )
       and                                 )
EQUIFAX INFORMATION                        )
SERVICES, LLC                              )
       and                                 )
EXPERIAN INFORMATION                       )
SOLUTIONS, INC.                            )
       and                                 )
CLIENT SERVICES, INC.                      )
                                           )
      Defendants.                          )
                                           )


                                        COMPLAINT

       1.      This is an action for damages brought by an individual consumer, Janet Marie

Rohloff against the Defendants for violations of the Fair Credit Reporting Act (hereafter the

“FCRA”), 15 U.S.C. §1681 et seq., as amended, the Fair Debt Collection Practices Act, 15

U.S.C. §1692, et seq. (hereafter the “FDCPA”), and other state laws.

                                       THE PARTIES

       2.      Plaintiff Janet Marie Rohloff is an adult individual residing at 365 South 6th

Street, St. Helens, Oregon 97051.

       3.      Defendant, Trans Union, LLC (hereafter “TU”), is a business entity which

regularly conducts business in Philadelphia County, Pennsylvania, and which has a principal

place of business located at 1510 Chester Pike, Crum Lynne, PA 19022.
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       4.      Defendant, Equifax Information Services, LLC (hereafter “Equifax”) is a business

entity that regularly conducts business in Philadelphia County, Pennsylvania and which has a

principle place of business at 6 Clementon Road, East, Suite A2, Gibbsboro, New Jersey 08026.

       5.      Defendant, Experian Information Solutions, Inc. (hereafter “Experian”) is a

business entity that regularly conducts business in Philadelphia County, Pennsylvania and which

has a principal place of business located at 5 Century Drive, Parsippany, New Jersey 07054.

       6.      Defendant, Client Services, Inc., (hereafter “Client Services”) is a business entity

that regularly conducts business in Philadelphia County, Pennsylvania and which has a principal

place of business located at 3451 Harry S. Truman Blvd., St. Charles, MO 63301. The principal

purpose of Defendant is the collection of debts already in default using the mails and telephone,

and Defendant regularly attempts to collect said debts.

                                  JURISDICTION & VENUE

       7.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 15 U.S.C. § 1681p,

28 U.S.C. §1331 and 1337, and supplemental jurisdiction exists for the state law claims pursuant

to 28 U.S.C. §1367.

       8.      Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b).

                                  FACTUAL ALLEGATIONS

       9.      Defendants TU, Equifax and Experian have been reporting derogatory and

inaccurate statements and information relating to Plaintiff and Plaintiff’s credit history to third

parties (hereafter the “inaccurate information”).

       10.     The inaccurate information includes, but is not limited to, an account with LVNV

Funding, LLC, HSBC Bank, HSBC/RS, Kohls/Chase, SST/Columbus Bank and Trust, Target

NB, Bank of America, MCYDSNB, WFNNB/Justice, BAC Home Loans Services, Chase,



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Citicorp Trust Bank, First Mutual Savings Bank, First USA Bank, GEMB/Walmart,

Radio/CBSD, Randolph Savings Bank, US Bank, Verizon New England, Wendover Financial

Services Corp., and other personal information.

        11.     Additionally, at all pertinent times hereto, Defendant Client Services was hired to

collect a debt relating to a credit card with Target Financial Services (hereafter the “debt”).

        12.     The alleged debt at issue arose out of a transaction which was primarily for

personal, family or household purposes.

        13.     At all times material hereto, Plaintiff does not and has never owed a debt to

Target Financial Services.

        14.     The inaccurate information negatively reflects upon Plaintiff, Plaintiff’s credit

repayment history, Plaintiff’s financial responsibility as a debtor and Plaintiff’s credit

worthiness. The inaccurate information consists of accounts and/or tradelines that do not belong

to the Plaintiff.

        15.     Defendants TU, Equifax and Experian have been reporting the inaccurate

information through the issuance of false and inaccurate credit information and consumer credit

reports that they have disseminated to various persons and credit grantors, both known and

unknown.

        16.     In or around March 2011, Defendant Credit Services contacted Plaintiff in an

attempt to collect the debt with the intent to annoy, abuse, and harass. During these

conversations, Plaintiff advised Defendant Credit Services that she does not owe the debt and to

cease contacting her.




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       17.     Notwithstanding the above, in or around March 2011, Defendant Credit Services

sent Plaintiff a dunning letter in an attempt to collect the debt after being advised by Plaintiff that

she did not owe the debt and requested to cease being contacted.

       18.     Defendant Credit Services acted in a false, deceptive, misleading and unfair

manner by communicating with any person other than the consumer for the purpose of acquiring

anything other than location information about the consumer.

       19.     Defendant Credit Services acted in a false, deceptive, misleading and unfair

manner by communicating with any person other than the consumer on more than one occasion.

       20.     Defendant Credit Services acted in a false, deceptive, misleading and unfair

manner by communicating with any person other than the consumer in connection with the

collection of a debt.

       21.     Defendant Credit Services acted in a false, deceptive, misleading and unfair

manner by engaging in conduct the natural consequence of which is to harass, oppress, or abuse

any person in connection with the collection of a debt.

       22.     Defendant Credit Services acted in a false, deceptive, misleading and unfair

manner by misrepresenting the character, amount, or legal status of any debt.

       23.     Defendant Credit Services acted in a false, deceptive, misleading and unfair

manner by engaging in false representation or deceptive means to collect or attempt to collect

any debt.

       24.     As a result of Defendants’ conduct, Plaintiff has suffered actual damages in the

form of (a) lost credit opportunities, (b) harm to credit reputation and credit score, and (c)

emotional distress.




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       25.     Defendants knew or should have known that their actions violated the FCRA and

FDCPA. Additionally, Defendants could have taken the steps necessary to bring their agent’s

actions within compliance of these statutes, but neglected to do so and failed to adequately

review those actions to insure compliance with said laws.

       26.     At all times pertinent hereto, Defendants were acting by and through their agents,

servants and/or employees, who were acting within the scope and course of their employment,

and under the direct supervision and control of the Defendant herein.

       27.     At all times pertinent hereto, the conduct of Defendants as well as their agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in wanton

disregard for federal and state law and the rights of the Plaintiff herein.

       28.     As a result of Defendants’ conduct, Plaintiff has sustained actual damages,

including, but not limited to injury to Plaintiff’s reputation, invasion of privacy, damage to

Plaintiff’s credit, out-of-pocket expenses, emotional and mental pain and anguish,

embarrassment, humiliation, headaches, loss of sleep, damage to reputation and pecuniary loss

and he will continue to suffer same for an indefinite time in the future, all to his great detriment

and loss.

                COUNT I – DEFENDANTS TU, EQUIFAX AND EXPERIAN
                            VIOLATIONS OF THE FCRA

       29.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       30.     At all times pertinent hereto, TU, Equifax and Experian were “persons” and

“consumer reporting agencies” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).

       31.     At all times pertinent hereto, Plaintiff was a “consumer” as that term is defined by

15 U.S.C. § 1681a(c).

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       32.     At all times pertinent hereto, the above-mentioned credit reports were “consumer

reports” as that term is defined by 15 U.S.C. § 1681a(d).

       33.     Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Defendants are liable to the

Plaintiff for willfully and negligently failing to employ and follow reasonable procedures to

assure maximum possible accuracy of Plaintiff’s credit report, information and file, in violation

of 15 U.S.C. §1681e(b).

       34.     The conduct of Defendants was a direct and proximate cause, as well as a

substantial factor, in bringing about the serious injuries, actual damages and harm to Plaintiff that

are outlined more fully above and, as a result, Defendants are liable to Plaintiff for the full

amount of statutory, actual and punitive damages, along with the attorneys’ fees and the costs of

litigation, as well as such further relief, as may be permitted by law.

                               COUNT II – CREDIT SERVICES
                                VIOLATIONS OF THE FDCPA

       35.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       36.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) of the

FDCPA.

       37.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3) of the FDCPA.

       38.     The above contacts between Defendant and Plaintiff were “communications”

relating to a “debt” as defined by 15 U.S.C. § 1692a(2) and 1692a(5) of the FDCPA.

       39.     Defendant violated the FDCPA.          Defendant's violations include, but are not

limited to, violations of 15 U.S.C. §§ 1692b, 1692b(3), 1692c(b), 1692e(2)(A), 1692e(10), and

1692f, as evidenced by the following conduct:




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               (a)     Communicating with any person other than the consumer for the purpose

                       of acquiring anything other than location information;

               (b)     Communicating with a non-debtor on more than one occasion;

               (c)     Communicating with any person other than the consumer in connection

                       with the collection of a debt;

               (d)     Misrepresenting the character, amount, or legal status of any debt;

               (e)     Engaging in conduct the natural consequence of which is to harass,

                       oppress or abuse any person in connection with the collection of a debt;

                       and

               (f)     Otherwise using false, deceptive, misleading and unfair or unconscionable

                       means to collect or attempt to collect the alleged debt from Plaintiff.

       40.     Defendant’s acts as described above were done with malicious, intentional,

willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the

purpose of coercing Plaintiff to pay the alleged debt.

       41.     As a result of the above violations of the FDCPA, Defendant is liable to Plaintiff

in the sum of Plaintiff’s statutory damages, actual damages and attorney’s fees and costs.



                              COUNT III – CREDIT SERVICES
                                INVASION OF PRIVACY

       42.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       43.     Defendant’s conduct, including but not limited to repeatedly contacting Plaintiff

in an attempt to collect a debt after being advised that Plaintiff did not owe the debt and to cease

contact, constitutes an invasion of privacy.

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       44.       The conduct of Defendant was a direct and proximate cause, as well as a

substantial factor, in bringing about the serious injuries, damages and harm to Plaintiff that are

outlined more fully above and, as a result, Defendant is liable to compensate the Plaintiff for the

full amount of actual, compensatory and punitive damages, as well as such other relief, permitted

under the law.

                                      JURY TRIAL DEMAND

       45.       Plaintiff demands trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages against the

Defendants, based on the following requested relief:

       (a)       Actual damages;

       (b)       Statutory damages;

       (c)       Punitive damages;

       (d)       Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §§ 1681n, 1681o and

1692k(a)(3);

       (e)       Such other and further relief as may be necessary, just and proper.

                                                Respectfully Submitted,

                                                FRANCIS & MAILMAN, P.C.


                                        BY:       /s/ Mark Mailman
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Dated: August 4, 2011                           Attorneys for Plaintiff

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